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·1· · · · · · ·IN THE UNITED STATES DISTRICT COURT
·2· · · · · · · · ·FOR THE DISTRICT OF COLORADO
·3· · · · · · · ·CIVIL ACTION NO. 20-CV-01936-STV
·4
·5· · ·TIMOTHY JAMES COATES, GENE CLAPS, MARK MITCHELL, AND
·6· · · · · · · · · · · · KEVIN CURRIER,
·7· · · · · · · · · · · · · Plaintiffs
·8
·9· · · · · · · · · · · · · · · V.
10
11· ·THE ADAMS COUNTY SHERIFF'S OFFICE, A GOVERNMENT ENTITY;
12· · ·RICHARD A. REIGENBORN, IN HIS OFFICIAL AND INDIVIDUAL
13· · · · · · · · · · · · · ·CAPACITY,
14· · · · · · · · · · · · · Defendants
15
16
17
18
19
20
21
22
23· ·DEPONENT:· TERRANCE P. O'NEILL, JR.
24· ·DATE:· · · MARCH 10, 2021
25· ·REPORTER:· DELANEY CALEAU




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·1· ·and answered questions more quickly than I would have
·2· ·been able to.· So it was helpful to me.
·3· · · · Q· · Okay.· And who has taken over the
·4· ·responsibilities of the prior division chief as --
·5· ·excuse me, strike that -- the prior division captains?
·6· · · · A· · There is no more captain position in this
·7· ·administration.
·8· · · · Q· · Sorry.· I see.· Let me rephrase.· Now that
·9· ·there are no more captains, who has taken over the
10· ·responsibilities that those captains held?
11· · · · A· · I would imagine that the commanders will --
12· ·would have much more communication or attempt to answer
13· ·those things themselves and keep their division chiefs
14· ·apprised of that.
15· · · · Q· · Okay.· So you mentioned that you have worked
16· ·under four sheriff's administrations?
17· · · · A· · Correct.
18· · · · Q· · Is it common when a new sheriff takes office
19· ·for the sheriff to terminate numbers of the command
20· ·staff?
21· · · · A· · I'm not sure if that's a question that I can
22· ·answer.· In my -- in my limited experience with four
23· ·sheriffs, this would've been the first time that I have
24· ·personally seen -- seen that.
25· · · · Q· · Okay.




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·1· · · · · · MR. DEGOLIA:· I'm sorry.· We can take Exhibit 1
·2· · · ·off the screen now.· Thank you.
·3· · · · Q· · So to your recollection, when Sheriff Darr
·4· ·took office in January 2003, did he terminate any--
·5· ·excuse me, did he terminate any members of Sheriff
·6· ·Currier's command staff?
·7· · · · A· · On 2003 I was pretty much gone.· So I wasn't,
·8· ·again, a part of a lot of what was happening in my time
·9· ·when Sheriff Darr took office.
10· · · · Q· · But to your knowledge, when you came back,
11· ·people were not talking about Sheriff Darr's terminating
12· ·members of Sheriff Currier's command staff?
13· · · · A· · Not that I recall.
14· · · · Q· · Okay.· And when Sheriff McIntosh became
15· ·sheriff in 2015, did he terminate any members of Sheriff
16· ·Darr's command set?
17· · · · A· · Not that I recall.
18· · · · Q· · Okay.· Did Sheriff McIntosh demote any of the
19· ·existing chiefs or lieutenants or -- excuse me,
20· ·commanders when he took office?
21· · · · A· · I don't believe so.· No.
22· · · · Q· · Okay.· So other than the plaintiffs in this
23· ·lawsuit, in your 22 years in the Adams County Sheriff's
24· ·Office, have you known any other command staff to be
25· ·terminated when a new sheriff takes office?




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·1· · · · A· · Not that I recall.
·2· · · · Q· · Okay.· But in the time that you've been in
·3· ·Adams County, you have seen other employees at the Adams
·4· ·County Sheriff's Office be terminated; is that correct?
·5· · · · A· · Correct.
·6· · · · Q· · And when an employee is terminated prior to
·7· ·January 2019, is there usually an internal affairs
·8· ·investigation that takes place?
·9· · · · A· · Typically, yes.
10· · · · Q· · Okay.· So in your time at the Adams County
11· ·Sheriff's Office, have you ever known an employee to be
12· ·terminated without an internal affairs investigation
13· ·other than the plaintiffs in this lawsuit?
14· · · · A· · I'll try and recall.· I know that -- I guess
15· ·the simple answer is no.· Criminal activity, of course,
16· ·is reasonable grounds for termination, but usually, that
17· ·is followed by internal affairs investigation.
18· · · · Q· · Okay.· So is it fair to say that the
19· ·termination of the plaintiffs in this lawsuit did not
20· ·follow the normal procedure?
21· · · · A· · I don't believe that they were any internal
22· ·affairs cases open on the plaintiffs.
23· · · · Q· · So is that a no?
24· · · · A· · Yes.
25· · · · Q· · Okay.· Okay.· I'd like to ask you some




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·1· · · · A· · Well, I can assume that he -- Reigenborn had
·2· ·already chosen who he wanted as his command staff, which
·3· ·left, you know, obviously, no opportunity for us
·4· ·continuing the positions that we were currently holding,
·5· ·as far as if it was, you know, because we didn't support
·6· ·him.· Instead, we supported Mcintosh, you know.· I -- I
·7· ·could only guess on that stuff, either one.· Again, I'm
·8· ·not -- I'm not in any way psychic or can read the
·9· ·thoughts of others, so I -- I -- I don't know why.             I
10· ·just know that we got the -- we got these letters and --
11· ·and were sent home.
12· · · · Q· · As far as you know, did anyone who received
13· ·one of those letters support Rick Reigenborn in the
14· ·sheriff's election.
15· · · · A· · Not that I'm aware of.
16· · · · Q· · Okay.· So let's talk about the meeting that
17· ·you had on January 15th.· Could you tell me who was
18· ·present at that meeting?
19· · · · A· · That was Sheriff Reigenborn, Undersheriff
20· ·McLallen, Sarah Manzanares, and Kasandra Carleton.
21· · · · Q· · Was there anyone else present?
22· · · · A· · I think that was it.
23· · · · Q· · Okay.· You mentioned that you recorded that
24· ·meeting.· How did you record it?
25· · · · A· · With my phone.




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·1· · · · Q· · Have you had that conversation with anyone
·2· ·else?
·3· · · · A· · Yes.
·4· · · · Q· · Who have you had that conversation with?
·5· · · · A· · Christopher Laws.
·6· · · · Q· · And approximately when did you have that
·7· ·conversation with Mr. Laws?
·8· · · · A· · That was June 15th of 2020.
·9· · · · Q· · How do you recall the precise date?
10· · · · A· · Because I documented it.
11· · · · Q· · Did you record that meeting?
12· · · · A· · I did not.
13· · · · Q· · Will you describe that meeting for me?
14· · · · A· · Again, in essence, it was in the morning.             I
15· ·was here at work.· He had come into work after I was
16· ·here.· So I was at my desk working.· He had come in,
17· ·said, "Hey, how's it going?"· I said, "Good, how are
18· ·you?" and he kind of came in and shut the door and said,
19· ·"Basically, I'm just going to come out with it.· At a
20· ·chief's meeting -- last chief's meeting, they were
21· ·talking about you and they're very concerned.· So I'm
22· ·just going to come out and ask, are -- are you -- are
23· ·you running for sheriff?"· I told him no.· I'm not.             I
24· ·said, you know, I said something to the effect of, you
25· ·know, where are they getting this from or whatnot, and




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·1· ·he says, "You know, I don't know."· I said, "Well, what"
·2· ·-- like, they were talking -- all of them were talking
·3· ·about at chief's meeting and I said, "What -- what was
·4· ·their -- what -- what -- what were they going to do if I
·5· ·-- if I was?"· Were they -- were they going to try and
·6· ·get rid of me?" or something.· And he said something to
·7· ·the effect of, "Well, yeah, probably."
·8· · · · Q· · Can you clarify, when he said "they're
·9· ·concerned," who is "they"?
10· · · · A· · I do not know.· All I know is -- is what I've
11· ·stated that he said that they were discussing -- had a
12· ·discussion about it during the chief's meeting the
13· ·previous week.
14· · · · Q· · Did he specifically say Sheriff Reigenborn's
15· ·name?
16· · · · A· · He just said "they" is what I recall.
17· · · · Q· · Okay.· And what else did you discuss?
18· · · · A· · That was it.
19· · · · Q· · Okay.· And then he got up and left the room?
20· · · · A· · Yes.
21· · · · Q· · Did Robert Nanney's name come up in that
22· ·conversation?
23· · · · A· · That I had on the 15th of June?
24· · · · Q· · With Mr. Laws?
25· · · · A· · No.




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